                     Case 17-23640-EPK        Doc 61    Filed 04/22/19    Page 1 of 2
                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                              WEST PALM BEACH DIVISION

                                                                      CASE NO.: 17-23640-BKC-EPK
                                                                   PROCEEDING UNDER CHAPTER 13

IN RE:

SHAWN THOMPSON
XXX-XX-5883
MARCEN MORRIS
XXX-XX-5633

_____________________________/
DEBTORS

                                     REPORT OF COMPLIANCE

   COMES NOW the Trustee, Robin R. Weiner, Esquire, and reports to the Court as follows:

   1. Pursuant to Administrative Order 98-6, a Notice of Delinquency was served on February 25, 2019,
      as a result of the Debtors' failure to remain current under the confirmed plan.

   2. The Debtors are substantially current under the last filed Notice of Delinquency.

   3. Accordingly, the Trustee reports that this case should proceed in the normal course.

   WHEREFORE, the Trustee reports these facts to the court for appropriate action.
   RESPECTFULLY SUBMITTED this 22nd day of April, 2019.

    I HEREBY CERTIFY that I am admitted to the Bar of the United States District Court for the
Southern District of Florida and I am in compliance with the additional qualifications to practice in this
court as set forth in Local Rule 2090-1(A) and that a true and correct copy of this Report Of Compliance
was served, via U.S. first class mail, certified mail and/or CM/ECF, upon the parties listed on the attached
service list this 22nd day of April, 2019.

                                                                 /s/ Robin R. Weiner
                                                             _____________________________________
                                                                 ROBIN R. WEINER, ESQUIRE
                                                                 STANDING CHAPTER 13 TRUSTEE
                                                                 P.O. BOX 559007
                                                                 FORT LAUDERDALE, FL 33355-9007
                                                                 TELEPHONE: 954-382-2001
                                                                 FLORIDA BAR NO.: 861154
               Case 17-23640-EPK   Doc 61   Filed 04/22/19   Page 2 of 2
                                                                     REPORT OF COMPLIANCE
                                                                  CASE NO.: 17-23640-BKC-EPK

                                   SERVICE LIST

COPIES FURNISHED TO:

DEBTORS
SHAWN THOMPSON
MARCEN MORRIS
21362 SUMMERTRACE CIR
BOCA RATON, FL 33428

ATTORNEY FOR DEBTORS
CONWADE D. LEWIS, ESQUIRE
3500 N. STATE ROAD 7
SUITE 440
LAUDERDALE LAKES, FL 33319
